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                            United States District Court
                                      for the
                            Southern District of Florida

  Spectrum Image, Inc., d/b/a            )
  Spectrum Aesthetics, Plaintiff,        )
                                         )
  v.                                     ) Civil Action No. 19-21702-Civ-Scola
                                         )
  Nicholas Makozy, Defendant.            )
                      Order On Default Judgment Procedure
         On September 6, 2019 the Clerk of the Court entered a Default against
  Defendant Nicholas Makozy. In order to resolve this case justly and efficiently,
  the Court orders the Plaintiff to move for Default Judgment by September 20,
  2019, consistent with Federal Rule of Civil Procedure 55(b).
         The Motion for Default Judgment must include affidavits of any sum
  certain due from the Defendant, and any other supporting documentation
  necessary to determine the Plaintiff’s measure of damages. The Motion must
  also be accompanied by: (1) the necessary affidavit under the Servicemembers
  Civil Relief Act, 50 U.S.C. app. § 521(b), if applicable; and (2) a proposed order
  granting the Motion for Default Judgment and entering Default Judgment.
  Pursuant to the CM/ECF Administrative Procedures, the Plaintiff must also
  send a proposed order to the Court by e-mail in Word format (.doc) at
  scola@flsd.uscourts.gov. The Plaintiff must send a copy of the Motion to
  counsel for the Defendant, or to the Defendant directly if they do not have
  counsel. In the certificate of service, the Plaintiff must indicate the addresses
  where it sent the notice.
         If the Defendant fails to move to set aside the Clerk’s Default, or fails to
  otherwise respond to this lawsuit, on or before September 20, 2019, Default
  Judgment may be entered. This means that the Plaintiff may be able to take
  the property or money of the Defendant, and/or obtain other relief against the
  Defendant.
         If the Plaintiff fails to file a Motion for Default Judgment within the
  specified time this case may be dismissed without prejudice.
        Done and ordered at Miami, Florida, on September 9, 2019.

                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
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  Copy to:
  1808 Garfield Street
  Aliquippa, PA 15001
